
ALLEN, Judge.
The state challenges an order by which the trial court allowed the appellant the opportunity to file a belated appeal. Although the appellant acknowledged that he never asked counsel to file an appeal, the trial court indicated that counsel should have initiated some discussion with the appellant as to this matter. However, the order from which the appellant seeks a belated appeal clearly informed the appellant of the time for appeal, and in the absence of a timely request therefor the appellant is not entitled to such relief. See, e.g., Green v. State, 614 So.2d 1198 (Fla. 1st DCA 1993). The order allowing a belated appeal is accordingly reversed.
BARFIELD, C.J., and ERVIN, J., concur.
